OPINION — AG — SINCE THERE APPEARS TO BE NO LAW MAKING THE STATE LIABLE FOR, OR PROVIDING FOR PAYMENT OF, DAMAGES TO A MOTOR VEHICLE WHICH HAVE RESULTED FROM THE OPERATION OF ANOTHER MOTOR VEHICLE BY AN EMPLOYEE OF THE STATE, AND IN VIEW OF THE AFOREMENTIONED DECISIONS OF THE SUPREME COURT OF OKLAHOMA AS TO THE USE OR APPROPRIATION OF STATE FUNDS FOR THE PAYMENT OF DAMAGES, THE AG MUST ADVISE AGAINST THE PAYMENT OF THE DAMAGES. CITE: 12 O.S.H. 66, ARTICLE X, SECTION 14, ARTICLE X, SECTION 15 (J. H. JOHNSON)